
Caruthers, J.,
delivered the opinion of the Court.
This was an action of debt upon a note for $1,000, in the usual form. The pleas are, nil debet, payment, set-off, and statute of limitations. These pleas were not sworn to, as required in the declaration. Eor that reason they were disregarded by the Court, and judgment by default given against the defendant for want of any defence.
*394Whether this was erroneous, is the only question; and to settle that, the case is brought up, as it seems different opinions are entertained, by the Circuit Judges, upon it.
In chap. 9, art. 1, of the Code, this subject is regulated. The subject is introduced by section 2880, in these words: “ The pleadings treated of in this chapter apply to all actions at law.”
Section 2886 provides that “ the plaintiff, in his pleadings, may require the answer of the defendant to he given under oath.”
Section ■ 2887 gives to such pleading the same force as an answer in Chancery, requiring' two witnesses, or one with corroborating circumstances, to overturn it.
We see no possible way to avoid the conclusion, that every description of plea, or defence, to any civil action at law, must be under oath, if expressly required in the declaration.
It is a great innovation, hut such is the legislative will, and we must obey it. The object, doubtless, was to prevent expense and delay in reaching a man’s rights wrongfully withheld. The defendant, it was thought, should not be allowed to rely upon any plea, general or special, unless he is willing to swear that he believes it to be true. He is not permitted to plead that he does not owe, did. not assume, has paid, is not guilty, or interpose any other defence upon which to claim an issue, unless it be verified by oath.
On the one hand it will, doubtless, lead to much perjury, but on the other it will prevent unreal or false defences, and thereby cut off the law’s delay, and expedite the administration of justice, where there is no *395true and real defence. It will prevent much recorded falsehood in untrue pleas, hut may increase false swearing. It was for the Legislature to decide between these evils: and as they have done so, it is only for us to enforce their declared will.
Judgment affirmed.
